        Case 3:11-cr-04646-GPC                  Document 110          Filed 08/29/13          PageID.275         Page 1 of 2

AO 245B (CASDRev. 08/13) Judgment in a Criminal Case for Revocations


                                     UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF CALIFORNIA                             \ 3 fJjb"29. p~Jn .....
                                                                                                                         J. 08
              UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASK i r    .,     ". "       #
                                                                                                                                 W";
                                                                                                                                '.. ~ ,.;.
                                                                                                                                  ~.         ' /"

                                                                     (For Revocation of Probation or SuperVised ReleaSe}··
                                                                     (For Offenses Committed On or After November 1, 1987) ~
                                V.
                                                                                                                              DEPUTY
                    STEPHEN REYES (0 I)
                                                                        Case Number:        II CR4646-IEG

                                                                     GREGORY MURPHY, FD
                                                                     Defendant's Attorney
REGISTRATION NO.                 28434298
o
[8J   admitted guilt to violation of allegation(s) No.      two.
                                                          --~-------------------------------------------
o was found guilty in violation of allegation(s) No.                                                  after denial of gUilty.

Accordingly, the court bas adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number                  Nature of Violation
                                   Unlawful use of a controlled substance and/or Failure to Test; VCCA (Violent Crime Control
               2                   Act)




    Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.

                                                                     August 19. 2013
                                                                     Date of Imposition of Sentence



                                                                     HON~GC;fitmp(
                                                                     UNITED STATES DISTRICT JUDGE




                                                                                                                      11 CR4646-IEG
       Case 3:11-cr-04646-GPC            Document 110         Filed 08/29/13       PageID.276        Page 2 of 2

AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case for Revocations

DEFENDANT:                 STEPHEN REYES (01)                                                      Judgment - Page 2 of 2
CASE NUMBER:               llCR4646-IEG

                                                IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
Six (06) months.




o      Sentence imposed pursuant to Title 8 USC Section 1326(b).
o      The court makes the following recommendations to the Bureau of Prisons:




o      The defendant is remanded to the custody of the United States Marshal.

o      The defendant shall surrender to the United States Marshal for this district:
       o     at                            A.M.              on
       o
                 -----------------
             as notified by the United States Marshal.
                                                                  ------------------------------------
       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
o      Prisons:
       o    on or before
       o     as notified by the United States Marshal.
       o     as notified by the Probation or Pretrial Services Office.

                                                      RETURN
I have executed this judgment as follows:

       Defendant delivered on
                                ------------------------- to
at
     ----------------------- , with a certified copy of this judgment.

                                                                  UNITED STATES MARSHAL



                                    By                    DEPUTY UNITED STATES MARSHAL



                                                                                                        11 CR4646-IEG
